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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

FREDERICK KLORCZYK, JR., of the Estate                : CIVIL NO. 3:13-cv-00257-JAM
of as co-administrator Christian R. Klorczyk, et al., :
                                                      :
                               Plaintiffs,            :
                                                      :
vs.                                                   :
                                                      :
SEARS, ROEBUCK AND CO., et al.,                       :
                                                      :
                               Defendants.            : APRIL 9, 2019

      JOINT MOTION FOR EXTENSION OF TIME TO FILE JOINT TRIAL
 REPORT AND FOR APPROVAL OF DAMAGES EXPERT DISCOVERY SCHEDULE

       Pursuant to Rule 7(b) of the Local Civil Rules of the United States District Court for the

District of Connecticut, the Defendants, Shinn Fu Corporation, Shinn Fu Company of America,

Inc., MVP (H.K.) Industries, Ltd., and Wei Fu (Taishan) Machinery & Electric Co., Ltd.,

together with the Plaintiffs, Frederick Klorczyk Jr. as co-administrator of the Estate of Christian

R. Klorczyk and Lynne Klorczyk as co-administrator of the Estate of Christian R. Klorczyk,

hereby move for an extension of time to file their joint trial memorandum, and for approval of

their agreed-upon schedule for the completion of damages expert discovery.

       By way of background, following the Court’s decision on dispositive motions (ECF No.

329), the Court ordered the parties to submit a joint trial memorandum no later than April 29,

2019. The parties, however, through their undersigned counsel, had previously agreed to forego

damages expert discovery until dispositive motions were decided, in the interest of conserving

resources in the event that the case resolved at the summary judgment stage. The parties

previously submitted proposed schedules (ECF No. 251) in which all parties proposed that the

depositions of the Plaintiffs’ damages experts, disclosure of Defendants’ damages experts, and

depositions of Defendants’ damages experts would proceed forthwith after dispositive motions
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were decided. In the Court’s subsequent scheduling order, it stated: “In the event that the case is

not resolved at the summary judgment stage, then the parties may at that time propose an

expedited briefing schedule with respect to any expert disclosures and expert discovery on the

issue of damages to be proved at trial.” (ECF No. 252.) The parties later submitted another

scheduling motion stating that they intended to agree on a schedule for damages expert

discovery, if necessary, following the Court’s ruling on dispositive motions. (ECF. No. 289.)

For the foregoing reasons, and because the parties now require additional time to complete

damages expert discovery before they are ready to try the case, the parties submit that good

cause exists for the extension requested herein.

       The Plaintiffs completed their damages expert disclosures earlier in the case, when they

disclosed two damages experts: Lawrence Copp and Dr. Charles Catanese. After Plaintiffs’

counsel became aware of the Court’s recent decision on dispositive motions, they promptly

reached out to both experts regarding deposition scheduling. Unfortunately, due to preexisting

scheduling conflicts, Dr. Catanese is not available until the week of May 27th, and Mr. Copp is

not available until the week of June 10th. The parties have agreed to go forward with their

depositions during those weeks, and have agreed that the Defendants will disclose any damages

experts within approximately thirty days thereafter, with defense damages expert depositions to

follow within thirty days of disclosure, and with the parties’ joint trial memorandum to be

submitted within forty-five days after completion of Defendants’ damages experts’ depositions.

The parties accordingly jointly submit the following proposed schedule for the Court’s approval:

              Depositions of Plaintiffs’ damages experts by June 14, 2019

              Disclosure of Defendants’ damages experts and reports by July 15, 2019

              Depositions of Defendants’ damages experts by August 15, 2019


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               Joint trial memorandum by September 30, 2019

        Further, there remain outstanding issues relating to Sears’ pending bankruptcy and the

automatic stay imposed with respect to Sears, Roebuck and Co., which is a Defendant in this

action. Reserving all rights, the parties agree to pursue resolution of these issues no later than

the proposed deadline for completing Defendants’ damages experts’ damages, August 15, 2019.

In the event that the parties are unable to resolve the issues by that date, they will inform the

Court forthwith prior to proceeding with preparation of the joint trial memorandum and trial

preparation, motivated in part by their understanding and agreement that this case should be tried

only once. While the parties agree that the case should not proceed to trial until the Sears

bankruptcy related issues are resolved, they also agree that the remaining damages expert

discovery should be completed on an expedited basis in accordance with the Court’s prior order.

(ECF No. 252.) Further, the parties have agreed that the punitive damages claim against Sears

should be removed from the case as soon as possible, which will obviate the need for Sears to

file its own reply brief and seek a separate summary judgment argument on that claim before

trial if the stay against Sears is lifted or expires.

        WHEREFORE, for the foregoing reasons, the parties respectfully request that the Court

grant this Motion.




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PLAINTIFFS,                                       DEFENDANTS,

FREDERICK KLORCZYK, JR. as co-                    SEARS, ROEBUCK AND CO.,
administrator of the Estate of Christian R.       SHINN FU CORPORATION,
Klorczyk and LYNNE KLORCZYK, as co-               SHINN FU COMPANY OF AMERICA, INC.,
administrator of the Estate of Christian R.       MVP (HK) INDUSTRIES, LTD., and
Klorczyk                                          WEI FU (TAISHAN) MACHINERY &
                                                  ELECTRIC CO., LTD.
By:_/s/ Bryan J. Orticelli _______
   Paul D. Williams (ct05244)                     By:_ /s/ Steven J. Zakrzewski_ _____
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       and                                           Their Attorneys

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   Their Attorneys




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument has

been served upon all counsel of record via U.S. mail and via electronic transmission, pursuant to

Rule 5(b), Fed. R. Civ. P., on this 9th day of April, 2019.




                                                /s/ Steven J. Zakrzewski
                                               Steven J. Zakrzewski




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